      Case 1:17-cv-02989-AT Document 449-4 Filed 07/03/19 Page 1 Fulton
                                                                 of 110County Superior Court
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                                                                                 Date: 1/8/20198 :11 AM
                                                                              Cathelene Robinson, Clerk




             IN THE SUPERIOR COURT OF FULTON COUNTY
                         STATE OF GEORGIA


COALITION FOR GOOD
GOVERNANCE, RHONDA J.
MARTIN, SMYTHE DUVAL, AND
JEANNE DUFORT,

                          Plaintiffs,
                     v.                               CIVIL ACTION FILE
                                                       NO. 2018CV313418

ROBYN A. CRITTENDEN,
Secretary of State of Georgia,
et al.,

                          Defendants.




            PLAINTIFFS' NOTICE OF PROFFER OF EVIDENCE

      Plaintiffs' have shown that the pending motions to dismiss under O.C.G.A.

§ 9- l l - l 2(b)(6) should be denied because Plaintiffs' allegations state claims for

relief under the Georgia Election Contest statute, O.C.G.A. § 5-2-520, and under

28 U.S.C. § 1983, and Defendants have failed to carry their burden of showing

"with certainty" that Plaintiffs would not be entitled to relief "under any state of

provable facts," or that Plaintiffs "could not possibly introduce evidence within the

framework of the complaint sufficient to warrant a grant of the relief sought."

Scouten v. Amerisave Mortg. Corp. , 283 Ga. 72, 73 (2008) ( citation omitted).


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      The Petition in this case already identified evidence sufficient to warrant a

grant of the relief sought. In additional support, Plaintiffs file this Notice of

Proffer of Evidence, which evidence illustrates the nature and quality of the

evidence that Plaintiffs will introduce in support of their claims. Specifically,

Plaintiffs have filed herewith the following:

      A. Affidavit ofPhilip B. Stark.

      Professor Stark is Professor of Statistics and Associate Dean of

Mathematical and Physical Sciences at the University of California, Berkeley.

Professor Stark's qualifications and expertise in this area are simply without

parallel. Among his other areas of expertise relating to statistics and elections,

Professor Stark is an expert in the field of post-election auditing. He has been

qualified as an expert in state and federal courts, testified before committees of the

U.S. House of Representatives and Senate, and published more than one hundred

and ninety articles and books.

      In his Affidavit, Professor Stark renders an opinion as to the "undervote

rates between paper ballots and votes cast on DREs" in the 2018 general election.

Based upon his statistical analysis, Professor Stark concludes: "The disparity in

undervote rates by voting technology strongly suggests that malfunction,

misconfiguration, bugs, hacking, or other error or malfeasance caused some DREs

not to record votes in the Lt. Governor's contest." Stark Aff. ,r 23. Professor


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Stark also analyzed anomalous results of a DRE machine in a single precinct, the

Winterville Train Depot. Professor Stark's states that his tests "strongly suggest

that machine 3 had some other software or hardward problem: misconfiguration,

error, defect, hack, or malfunction," adding that the "most plausible explanation is

that machine 3 was misconfigured in a way that caused votes for Republican

candidates to be recorded as votes for Democratic candidates, and vice versa."

Stark Aff. ,r 29. (Plaintiffs will present evidence of many more such anomalous

precinct results in evidentiary proceedings.)

      Professor Stark concludes: "Based on my analysis, described above, and my

knowledge of Georgia's DRE voting system used in the November 6, 2018

election, it is my opinion that the certified results of the Lieutenant Governor's

race are in substantial doubt." Stark Aff.   ,r 29.
      B. Affidavit of Christopher Brill

      Christopher Brill is a Senior Data Analyst with TargetSmart

Communications LLC, an industry leader in voter data and political campaign

services. Mr. Brill and his team at TargetSmart analyzed the reported votes cast

for Lt. Governor in the 2018 election to examine for possible irregularities. In his

affidavit, Mr. Brill addresses possible explanations for the undervote in the Lt.

Governor's race, and finds no reasonable, plausible explanation other than machine

malfunction. Among other facts that Mr. Brill finds important in his analysis are


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historical undervote trends and the alarming difference in undervote percentage for

Lt. Governor based on vote method- DRE or paper- a difference not found in the

undervote percentages for Governor, Secretary of State, or Attorney General. Mr.

Brill concludes that the undervote totals reflected in the Lt. Governor's race are

"extremely suspect and irregular and cast a serious doubt over the accuracy of the

final vote and the certified outcome of the Lt. Governor's contest." Brill Aff.,

Exhibit A, page 5.

      C. Grady High School Results - Johnson and Greenwald Affidavits

      As alleged in the Petition, there were numerous instances state-wide of a

variety of extremely suspect results and machine malfunctions (Lt. Governor race

not present on some electronic ballots, vote flipping, etc.). One example of

anomalous results and irregularities comes from Grady High School where the

reported official totals materially exceed the votes cast according to the publicly

posted DRE machine tapes. The Secretary of State reports 280 votes more in the

Lt. Governor race reflected on the 14 DRE machine tapes photographed.

(Greenwald Aff. Exhibit B) (Exhibit Bis worksheet that may be more easily

reviewed online at https://coaltionforgoodgovernance.sharefile.com/d-

s3917ca95b4f4f45a). Further, there were only 10 DRE machines (Johnson Aff. 1

5) in the polling place but 14 machine tapes were posted after the close of the polls.




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(Greenwald Aff. ,i 9). This is clear evidence of irregularity; discovery will be

necessary to explain these material differences.

      D. DeKalb Midvale Elementary Precinct

      Another example of anomalous results comes from DeKalb County's

Midvale Elementary School Precinct where the consolidated machine poll tape

shows 727 total ballots cast (Greenwald Aff. Exhibit E), but the Secretary of

State's official results reported 796 votes cast for the Lt. Governor's race, and over

800 votes cast for other statewide races. In her Answer, Secretary Crittenden does

not contend that the allegations regarding this irregularity are not correct; instead,

she states that the allegations "are outside the scope" of her knowledge.

(Secretary's Answer, January 2, 2019, ,i 48).

      E. Discovery Necessary

      This evidence establishes by a preponderance of the evidence that the

election was "so defective" as "to place in doubt the result" of the Lt. Governor

election, warranting a call for a new election under O.C.G.A. § 5-2-527(d). The

examples identified in this Notice are merely illustrative of the type of widespread

irregularities that have been identified by Coalition for Good Governance from the

publicly available information. As Professor Stark states, to determine the exact

nature, causes and extent of the irregularities, the "investigation most likely to




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produce definitive evidence is a forensic examination of the hardware and software

of DREs and other computerized systems used by Georgia." Stark Aff. 1 32.

      Respectfully submitted this 8th day of January, 2019.

                                            ls/Bruce P. Brown
                                            Bruce P. Brown
                                            Bruce P. Brown Law LLC
                                            1123 Zonolite Rd. NE
                                            Suite 6
                                            Atlanta, Georgia 30306
                                            (404) 881-0700




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                         CERTIFICATE OF SERVICE

      I have this day served a copy of the foregoing via the Court's e-filing system

to the attorneys of record who have made appearances.

      This 8th day of January, 2019.

                                              ls/Bruce P. Brown
                                              Bruce P. Brown




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           IN THE SUPERIOR COURT OF FULTON COUNTY
                      STATE OF GEORGIA


COALITION FOR GOOD
GOVERNANCE, RHONDA J.
MARTIN, SMYTHE DUVAL, AND
JEANNE DUFORT,

                       Plaintiffs,
                  v.                            CIVIL ACTION FILE
                                                 NO. 2018CV31348

ROBYN A. CRITTENDEN,
Secretary of State of Georgia,
et al.,

                       Defendants.




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                       DECLARATION OF PHILIP B. STARK

         PHILIP B. STARK hereby declares as follows:

Qualifications and Background

1. I am Professor of Statistics and Associate Dean of Mathematical and Physical Sciences at the

   University of California, Berkeley, where I am also a faculty member in the Graduate

   Program in Computational Data Science and Engineering; a co-investigator at the Berkeley

   Institute for Data Science; principal investigator of the Consortium for Data Analytics in

   Risk; director of Berkeley Open Source Food; and affiliated faculty of the Simons Institute

   for the Theory of Computing, the Theoretical Astrophysics Center, and the Berkeley Food

   Institute. Previously, I was Chair of the Department of Statistics and Director of the

   Statistical Computing Facility.

2. I have published more than one hundred and ninety articles and books. I have served on the

   editorial boards of archival journals in physical science, Applied Mathematics, Computer

   Science, and Statistics. I currently serve on four editorial boards. I have lectured at

   universities, professional societies, and government agencies in thirty countries. I was a

   Presidential Young Investigator and a Miller Research Professor. I received the U.C.

   Berkeley Chancellor's Award for Research in the Public Interest, the Leamer-Rosenthal Prize

   for Open Social Science, and a VeluxNillum Foundation Professorship. I am a member of

   the Institute for Mathematical Statistics and the Bernoulli Society. I am a Fellow of the

   American Statistical Association, the Institute of Physics, and the Royal Astronomical

   Society. I am professionally accredited as a statistician by the American Statistical

   Association and as a physicist by the Institute of Physics.




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3. I have consulted for many government agencies, including the U.S. Department of Justice,

   the U.S. Department of Agriculture, the U.S. Department of Commerce, the U.S. Department

   ofHousing and Urban Development, the U.S. Department ofVeterans Affairs, the Federal

   Trade Commission, the California Secretary of State, the California Attorney General, the

   California Highway Patrol, the Colorado Secretary of State, the Georgia Department of Law,

   and the Illinois State Attorney. I currently serve on the Board of Advisors of the U.S.

   Election Assistance Commission and on the Board of Directors of Verified Voting

   Foundation. (The opinions expressed herein are, however, my own: I am not writing as a

   representative of any entity.)

4. I have testified before the U.S. House of Representatives Subcommittee on the Census; the

   State of California Senate Committee on Elections, Reapportionment and Constitutional

   Amendments; the State of California Assembly Committee on Elections and Redistricting;

   the State of California Senate Committee on Natural Resources; and the State of California

   Little Hoover Commission.

5. I have been an expert witness or non-testifying expert in a variety of state and federal cases,

   for plaintiffs and for defendants, in criminal matters and a range of civil matters, including,

   inter alia: truth in advertising, antitrust, construction defects, consumer class actions, credit

   risk, disaster relief, elections, employment discrimination, environmental protection, equal

   protection, fairness in lending, federal legislation, First Amendment, import restrictions,

   insurance, intellectual property, jury selection, mortgage-backed securities, natural resources,

   product liability class actions, qui tam, risk assessment, toxic tort class actions, trade secrets,

   utilities, and wage and hour class actions.




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6. I have been qualified as an expert on statistics in federal courts, including the Central District

    of California, the District of Maryland, the Southern District of New York, and the Eastern

    District of Pennsylvania.

7. I have also been qualified as an expert on statistics in state courts.

8. I have used statistics to address a wide range of questions in many fields. 1

9. I served on former California Secretary of State Debra Bowen's Post-Election Audit

    Standards Working Group in 2007.

10. In 2007, I invented a statistical approach to auditing elections ("risk-limiting audits") that has

    been incorporated into statutes in California (AB 2023, SB 360, AB 44, AB 2125), Colorado

    (C.R.S. 1-7-515), and Rhode Island (RI Gen L §17-19-37.4 (2017)), and which were recently

    proposed in federal legislation (the PAVE Act of 2018). RLAs have been tested in California,

    Colorado, Indiana, Michigan, New Jersey, Ohio, Virginia, and Denmark.

11. RLAs are widely viewed as the best way to check the accuracy of vote tabulation. They have

    been endorsed by the Presidential Commission on Election Administration, the National

    Academy of Sciences report Securing the Vote: Protecting American Democracy, the

    American Statistical Association, the League of Women Voters, Verified Voting Foundation,

    Citizens for Election Integrity Minnesota, and other groups concerned with election integrity.

12. I have worked closely with state and local election officials in California and Colorado to

    pilot and deploy RLAs. The software Colorado uses to conduct RLAs is based on software I

    wrote.




1
  For example, I have used statistics to analyze the Big Bang, the interior structure of the Earth and Sun, the risk of
large earthquakes, the reliability of clinical trials, the accuracy of election results, the accuracy of the U.S. Census,
the risk of consumer credit default, the causes of geriatric hearing loss, the effectiveness of water treatment, the
fragility of ecological food webs, risks to protected species, the effectiveness of Internet content filters, high-energy
particle physics data, and the reliability of models of climate, among other things.




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13. I worked with Travis County, Texas, on the design of STAR-Vote, an auditable and end-to-

   end cryptographically verifiable voting system.

14. I testified as an expert witness in the general area of election integrity, including the

   reliability of voting equipment, in 2016 presidential candidate Jill Stein's recount suit in

   Wisconsin, and filed a report in her suit in Michigan.

15. I have testified as an expert in election auditing and the accuracy of election results in two

   election-related lawsuits in California.

16. I have testified to both houses of the California legislature regarding election integrity and

   election audits. I have testified to the California Little Hoover Commission about election

   integrity, voting equipment, and election audits.

17. I submitted two declarations in Donna Curling et al. v. Brian P. Kemp et al., Civil Action

   1: l 7-cv-2989-AT, United States District Court, Northern District of Georgia, Atlanta

   Division. My declarations concerned election integrity and security, vulnerabilities of

   Georgia's election systems, and the need for voter-marked paper ballots and post-election

   audits in Georgia.

18. Since 1988, I have taught statistics at the University of California, Berkeley, one of the top

   two statistics departments in the world (see, e.g., QS World University Rankings, 2014) and

   the nation (US News and World Reports, 2014). I teach statistics regularly at the

   undergraduate and graduate levels. I have created five new statistics courses at Berkeley. I

   developed and taught U.C. Berkeley's first online course in any subject, and among the first

   approved for credit throughout the ten campuses of the University of California system. I

   also developed and co-taught online statistics courses to over 52,000 students, using an

   online textbook and other pedagogical materials I wrote and programmed.




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19. Appendix 1 is my current curriculum vitae, which includes my publications for the last ten

    years and all cases in the last four years in which I gave deposition or trial testimony.

    Materials Relied Upon

20. T relied on XML files of Georgia election results downloaded via the Georgia Secretary of

    State's website, at the URL

    https://results.enr.clarityelections.com/GA/91639/222278/reports/detailxml. zip I also relied

    on photographs of poll tapes from the Winterville Train Depot polling place in Clarke

    County, Georgia. I understand that the photographs were taken by Ms. Lee Ann Pingel after

    the close of the polls on election day.

    Opinions

21. I offer opinions with respect to two kinds of anomalies in the results of the 2018 midterm

    elections in Georgia.

22. My first opinion concerns the difference in undervote rates between paper ballots and votes

    cast on DREs in statewide contests. The undervote rate in the Lt. Governor' s contest is

    substantially hi gher for ballots cast on direct-recording electronic (DRE) equipment than for

    ballots cast by mail using paper ballots, by an amount that cannot reasonably be ascribed to

    chance. In 101 of 159 Georgia counties, the difference is statistically significant at level 0.01

    percent. 2 In contrast, in the contests for Secretary of State, Attorney General , Commissioner


2
  The significance levels are for a two-sample test that uses the hypergeometric distribution of the number of "good"
items in a simple random sample from a population of items that can be either "good" or "bad." The total number of
undervotes by mode of voting (by mail, early, and Election Day) was estimated by treating the statewide contest that
received the most votes in each county as if that number of votes was equal to the number of ballots cast. That
estimation was necessary because Georgia does not report total ballots cast by mode of voting. Because this
maximum was almost always for the gubernatorial contest, that contest is not included in the calculation: its relative
undervote rate is, by definition, zero. Provisionally cast ballots, of which there are relatively few, were not included.
Under the null hypothesis, mode of voting (electronic versus paper) is a label assigned as if at random to each ballot,
conditioned on the total number of ballots cast by each mode of voting. Data for the analyses was downloaded via
the Georgia Secretary of State's website from the URL
https://results.enr.clari tyelections.com/GA/9 1639/222278/reporls/detailxml.zip Software used to extract contest-




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    of Agriculture, Commissioner oflnsurance, State School Superintendent, Commissioner of

    Labor, Public Service Commission District 3, and Public Service Commission District 5, the

    difference is statistically significant in no more than 5 counties. See Table 1.

23. This disparity in undervote rates by voting technology strongly suggests that malfunction,

    misconfiguration, bugs, hacking, or other error or malfeasance caused some DREs not to

    record votes in the Lt. Governor's contest.

Table 1: Counties with statisticaf/y significant (p<0.0001) disparities in undervote rates between paper baffots and
DREs

             Contest                                            Counties with significant
                                                                undervote rate disparities
             Lt. Governor                                       101
             Secretarv of State                                 4
             Attorney General                                   4
             Commissioner of Agriculture                        5
             Commissioner of Insurance                          4
             State School Superintendent                        5
             Commissioner of Labor                              2
             Public Service Commission, District 3              4
             Public Service Commission, District 5              4


24. My second opinion concerns the machine-level results for the Winterville Train Depot

    polling place in Clarke County. There were seven DREs in the polling place; they recorded

    similar numbers of ballots (117, 135, 131, 133, 135, 144, 135). In this polling place,

    Democratic candidates won a majority in all ten statewide contests. Every DRE reported a

    majority for the Democratic candidate in all ten statewide contests except machine 3, which

    reported a majority for the Republican candidate in every contest.

25. On the assumption that voters were directed to DREs as if at random, the chance any of the

    seven machines would show disparities as large as machine 3 did in individual contests



level results from those official is given in Appendix II. Software to perform the statistical tests is given in Appendix
III.




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      ranges from less than one percent to approximately 15 percent. 3 Seven of the ten values are

      significant at level 5 percent or below. See Table 2.

                  Table 2: Consistency of Results across DREs in Winterville Train Station Polling Place

                               Contest                                          P-value
                               Governor                                         0.114
                               Lt. Governor                                     0.025
                               Secretarv of State                               0.018
                               Attorney General                                 0.151
                               Commissioner of Agriculture                      0.026
                               Commissioner of Insurance                        0.030
                               State School Suoerintendent                      0.097
                               Commissioner of Labor                            0.008
                               Public Service Commission, District 3            0.046
                               Public Service Commission, District 5            0.025


26. On the assumption that votes were cast on different DREs as if at random, the chance that

      any of the seven machines would show anomalies as large as machine 3 did is about 0.00009

      percent, i.e., less than one in a million. 4

27. If the Democratic and Republican party labels are flipped on the third machine, the anomaly

      disappears. For individual contests, no P-value is below 0.280 on the assumption that voters

      are directed to DREs as if at random, compared with values as small as 0.008 (and seven

      values below 5 percent) for the actual poll tapes. See Table 3.




3
    These results are based on permutation tests conditional on the number of ballots cast on each machine. The test
statistic is the largest absolute difference between the expected and actual fraction of Republican votes in each
contest. The P-values are two-sided, conservative P-values for a randomized test; the randomization was performed
using a cryptographically secure pseudo-random number generator. Software to perform the statistical tests is given
in Appendix IV.
4
  This result is based on a permutation test conditional on the number of ballots cast on each machine. The test
statistic is the largest absolute difference between the expected and actual fraction of Republican votes in each
contest. Results for different contests were combined using Fisher's combining function to produce the value
reported in paragraph 25. The P-values are conservative P-values for randomized tests; the randomization was
performed using a cryptographically secure pseudo-random number generator. Software used for the calculations is
given in Appendix IV.




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28. Similarly, on the assumption that votes are distributed randomly across machines, the chance

    that the discrepancies would be as large as observed would be roughly 97 percent, rather than

    0.00009 percent, the value for the original data.

Table 3: Consistency in Results across DREs in Winterville Train Station Po/ling Place, if D and R were Flipped on
Machine 3.

                             Contest                                          P-value
                             Governor                                         0.464
                             Lt. Governor                                     0.795
                             Secretarv of State                               0.450
                             Attorney General                                 0.543
                             Commissioner of Agriculture                      0.734
                             Commissioner of Insurance                        0.604
                             State School Superintendent                      0.807
                             Commissioner of Labor                            0.797
                             Public Service Commission, District 3            0.280
                             Public Service Commission, District 5            0.939


29. These tests strongly suggest that machine 3 had some other software or hardware problem:

    misconfiguration, error, defect, hack, or malfunction. The most plausible explanation is that

    machine 3 was misconfigured in a way that caused votes for Republican candidates to be

    recorded as votes for Democratic candidates, and vice versa.

    I understand that the Winterville Train Depot polling place is one of a number of polling

    places in which Georgia voters photographed poll tapes after the close of polls. It was not

    selected at random, but neither is there reason to believe that problems are confined to that

    polling place.

    Conclusions

30. Based on my analysis, described above, and my knowledge of Georgia's DRE voting system

    used in the November 6, 2018 election, it is my opinion that the certified results of the

    Lieutenant Governor's race are in substantial doubt.




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    31. Further statistical analysis of available data may be informative, but it cannot by itself

        determine who won, nor ascertain with certainty whether there were malfunctions, errors,

        bugs, defects or hacks, nor, if there were such problems, whether those problems caused the

        wrong candidate to appear to win.

   32. The investigation most likely to produce definitive evidence is a forensic examination of the

        hardware and software ofDREs and other computerized systems used by Georgia counties

        and the State of Georgia to record, Labulate, aggregate, and report votes and election results,

        including the hardware and software of devices used to configure those systems.




   I declare under penalty of perjury that the foregoing is true and correct.



             Executed on this date, 7 January 2019, in Berkeley, California.




                                                                      Philip B. Stark

 A notary public or other officer oompleting this certificate
 verifies only the Identity of the indMdual who signed the
 dOOJment to which this certificate is attached, and not the
 truthfulness, acaJracy, or validity of that document.


STATE OF



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                                                before me,                                 , Notary Public, personally appeared

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who proved to me on the basis of satisfactory evidence to be the per.;on'5') whose name((! is/~ subsaibed to the within
instrument and acknowledged to me that h e / ~ executed the same In hls/he,fthelr authorized capacity~, and that by
his/harAAeir signatur~ on the Instrument the person>", or the entity upon behalf of which the perso9'8' acted, exeruted the
Instrument


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 Curriculum Vitae
 Philip Bradford Stark

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 P.B. Stark: CV                       January 4, 2019                        1


 Biographical Information
      Born: 7 October 1960, Houston, Texas.

      Citizenship: U.S.A.



 Interests
      Theory: Inference, inverse problems, multiplicity, nonparametrics, op-
      timization, restricted parameters, sampling

      Applications: Astrophysics, cosmology, ecology, elections, geophysics,
      health, legislation, litigation, marketing, physics, public policy, risk
      assessment and control, uncertainty quantification



  Appointments
      10/2015-present Associate Dean, Division of Mathematical and
      Physical Sciences, University of California, Berkeley

      6/2016-8/2016 Visiting Professor of Theoretical Computer Science,
      IT University of Copenhagen

      7 /2012-6/2015 Chair, Department of Statistics, and Director, Sta-
      tistical Computing Facility, University of California, Berkeley

      7 /2011-6/2012 Vice Chair, Department of Statistics, University of
      California, Berkeley

      7 /2011-8/2011 Acting Chair, Department of Statistics, University of
      California, Berkeley

      7 /2008-present Faculty, Designated Emphasis in Computational and
      Data Science and Engineering, University of California, Berkeley

      7 /1998-present Professor, Department of Statistics, University of
      California, Berkeley




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 P.B. Stark: CV                       January 4, 2019                       2


      7 /2001-6/2003 Faculty Assistant in Educational Technology (to Vice
      Provost for Undergraduate Education), University of California, Berke-
      ley

      6/1996 Visiting Associate Professor, School of Mathematical Sciences,
      Tel Aviv University, Tel Aviv, Israel

      7 /1994-6/1998 Associate Professor, Department of Statistics, Uni-
      versity of California, Berkeley

      7 /1988-6/1994 Assistant Professor, Department of Statistics, Uni-
      versity of California, Berkeley

      7 /1987-6/1990 National Science Foundation Postdoctoral Fellow in
      Mathematical Sciences

      1/1987-6/1987 Postgraduate Research, Department of Statistics,
      University of California, Berkeley

      8/1986-12/1986 Postgraduate Research, Institute for Geophysics
      and Planetary Physics, UC San Diego


  A wards and Fellowships
      Velux/Villum Foundation Visiting Professor Programme (2015-2016)

      Leamer-Rosenthal Prize for Transparency in Social Science (2015)

      Chancellor's Award for Public Service, Research in the Public Interest,
      University of California, Berkeley (2011)

      John Gideon Award for Election Integrity, Election Verification Net-
      work (2011)

      Mellon Library/Faculty Fellow for Undergraduate Research (2006-
      2007)

      Presidential Chair Fellow, University of California, Berkeley (2003-
      2004)

      Fellow, American Statistical Association (selected 2014)




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      Fellow, Institute of Physics (elected 1999)

      Miller Research Professor, Miller Institute for Basic Research in Science
      (1999)

      Dobson Fellow, University of California at Berkeley (1998, 1999)

      Presidential Young Investigator (1989-1995)

      National Science Foundation Postdoctoral Fellowship in Mathematical
      Sciences (1987-1989)

      University Fellowship, University of Texas at Austin (1982-1983)


  Affiliations
      Association of Foragers

      Berkeley Institute for Data Science (BIDS), University of California,
      Berkeley

      Berkeley Food Institute, University of California, Berkeley

      Berkeley Open Source Food, University of California, Berkeley

      Center for Astrostatistics, Pennsylvania State University

      Global Oscillation Network Group (GONG)

      National Partnership for Advanced Computational Infrastructure
      (NPACI)

      Simons Institute for the Theory of Computing, University of California,
      Berkeley

      Solar and Heliospheric Observatory Solar Oscillations Investigation
      (SOHO-SOI)

      Space Sciences Laboratory, University of California, Berkeley

      Theoretical Astrophysics Center, University of California, Berkeley




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 Professional Societies
      American Statistical Association: Fellow and Accredited Professional
      Statistician

      Bernoulli Society for Mathematical Statistics and Probability

      Institute of Mathematical Statistics

      Institute of Physics: Fellow and Chartered Physicist

      International Statistical Institute

      Royal Astronomical Society: Fellow



 Education
      A.B. 1980, Princeton University, Princeton, New Jersey

      Ph.D. 1986, University of California, San Diego, La Jolla, California


 Mentors
      Robert L. Parker, Institute for Geophysics and Planetary Physics,
      Scripps Institution of Oceanography, University of California, San
      Diego (PhD dissertation advisor)

      George E. Backus, Institute for Geophysics and Planetary Physics,
      Scripps Institution of Oceanography, University of California, San
      Diego (postdoctoral advisor)

      David L. Donoho, Department of Statistics, Stanford University (post-
      doctoral advisor)




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   3. Stark, P.B., 1986. Travel-Time Inversion: Regularization and Infer-
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 213. Causal Inference from Data, Emerging Science for Environmental
      Health Decisions, Workshop on Advances in Causal Understanding of
      Human Health Risk-Based Decision Making, National Academy of Sci-
      ences, Engineering, and Medicine, Washington , DC, 6- 7 March 201 7.
      Slides: https: / /www. stat . berkeley. edu/- stark/Seminars/nasCau
      se17 . htm

 212. BRII a nd Brie, Berkeley Research Impact Initiative (BRII) , University
      of California, Berkeley, CA 22 Februa ry 2017.

 211. Uncertainty Quantification, Conference Universitaire de Suisse
      O ccidentale, Les Diabler ets , Swit zerland , 5- 8 February 201 7.
      Slides: https://www.stat . berkeley.edu/-stark/Seminars/lesDia
      blerets17-1. pdf9 https: / /www. stat . berkeley . edu/-stark/Semin




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      ars/lesDiablerets17-2.pdf https://www.stat.berkeley.edu/-s
      tark/Seminars/lesDiablerets17- 3.pdf

 210. Whose Votes (were) Counted in the Election of 2016?, ISF 198, The
      2016 U.S. Elections in Global Context: A S emester-Long Teach-In,
      University of California, Berkeley, 24 January 2017. Slides: https: / /
      www.stat.berkeley.edu/-stark/Seminars/teachin17.pdf

 209. Invited panelist , "How Blockchain Technology Will and Won 't Change
      the World ," University of California , Berkeley, College of Letters and
      Sciences, host ed by Glynn Capital and Boost VC , San Mateo, CA, 30
      November 2016.

 208. Teaching Evaluations (Mostly) Do Not Measure Teaching Effectiveness,
      Distinguished Lecture Series, Department of Computer Science and
      Engineering, University of California, San Diego, San Diego, CA, 14
      November 2016. Slides: https: / /www. stat. berkeley. edu/-stark/S
      eminars/setUCSD16.htm

 207. Simple Random Sampling is not that Simple, Random Processes And
      T ime S eries: Theory And Applications, A Conference In Honor Of
      Murray Rosenblatt, UC San Diego , San Diego, CA, 21- 23 October 2016.

 206. Invited panelist, "Productive Ecologies in the Anthropocene: Foraging
      Systems," Sixth International Conference on Food Studies, Berkeley,
      CA, 12- 13 October 2016.

 205. Teaching Evaluations (Mostly) Do Not Measure Teaching Effectiveness,
       Ethics Colloquium Series, Colorado State University, Fort Collins, CO,
       3 October 2016. Slides: https: / /www. stat. berkeley. edu/- stark/S
      [eminars/setCSU16.htm Video: https://echo.colostate . edu/ess/
      [echo/presentation/64309bd5- 6afd-4394-b5d3-5e6748f545f1]

 204. Simple Random Sampling is not that Simple, Neyman Seminar, De-
      partment of Statistics, University of California, Berkeley, Berkeley, CA
      21 September 2016.

 203. The Aliens Have Landed ... and They Are Delicious, Visions of the
      Wild, Vallejo, CA , 15 September 2016.




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 202. Simple Random Sampling: Not So Simple, Section of Theoretical Com-
      puter Science, IT University of Copenhagen , Copenhagen , Denmark,
      27 June 2016.

 201. Simple Random Sampling: Not So Simple, Section of Mathematics,
      Ecole Polytechnique Federale de Lausanne (EPFL), Lausanne, Switzer-
      land , 24 June 20 16.

 200. Invited panelist, "Carrot vs. Stick: approaches to encouraging re-
      producibility," Moore-Sloan Data Science Environment Reproducibility
      Conference, New York University, New York , 3 May 2016.

 199. Guest lecturer , MCB 15 (Public Underst anding of Science), University
      of California, Berkeley, 12 April 2016.

 198. Teaching Evaluations: Biased Beyond Measure, Center for Studies in
      Higher Education , and The Social Science Matrix, University of Cali-
      fornia , Berkeley, CA 11 April 2016. https: / /www. stat. berkeley. ed
      u/-stark/Seminars/setCSHE16.htm Video: https://www.youtube.
      com/watch?v=yhxUxBk-6GE http://uctv.tv/shows/Teaching-Eval
      uations -Biased-Beyond- Measure-30870

 197. Teaching Evaluations (Mostly) Do Not Measure Teaching Effectiveness,
      Wharton Statistics Department , University of Pennsylvania , Philadel-
      phia , PA, 17 March 2016. https: / /www. stat. berkeley. edu/- stark
      /Seminars/setPenn16.htm

 196. Invited Panelist, "The potentials and pitfalls of electronic auditing,"
      Election Verification Network Conference: Securing Elections in the
      21st Century, George Washington University, Washington, DC, 10- 11
      March 2016.

 195. Invit ed Panelist, "Int eroperability standards, proprietary co des, and
      verification / t est ing," III Arnold Workshop: Reproducibility in Model-
      ing and Code, American Association for the Advancement of Science,
      Washington , DC, 16- 17 January 20 16. http://www. aaas . org/ event
      /iii-arnold-workshop-modeling-and-code j

 194. Teaching Evaluations (Mostly) Do Not Measure Teaching Effectiveness,
      Department of Applied Mathematics and Statistics, University of Cal-




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      ifornia, Santa Cruz, 1 February 2016. https: / /www. stat. berkeley.
      edu/-stark/Seminars/setUCSC16.htm

 193. A Noob 's Guide to Reproducibility and Open Science, Department of
      Nuclear Engineering, Berkeley Institute for Dat a Science, and Berkeley
      Initiative for Ttansparency in Social Science, University of California,
      Berkeley, 25 January 2016. https: / /www. stat. berkeley. edu/-star
      k/Seminars/reproNE16.htm Video: http://www.ustream.tv/recor
      ded/81987743

 192. Chair, Wild Edibles Taste Workshop, 2015 Indigenous Terra Madre
      Conference, Shillong, Meghalaya, India , 3- 7 November, 2015.

 191. Invited Panelist , "From Field to Fork, the Stories of Chefs , Communi-
      ties, and Writers," 2015 Indigenous Terra Madre Conference, Shillong,
      Meghalaya , India, 3- 7 November , 2015. https: //www. stat. berkele
      y.edu/-stark/Seminars/forageITM15.htm

 190. Guest lecturer, ESPM 117 (Urban Garden Ecosystems) , University of
      California, Berkeley, 20 Octob er 2015. https: / /www. stat. berkeley.
      edu/-stark/Seminars/forageAgroEcol15.htm

 189. Invited Panelist , "Statistical Implications of Big Dat a Applied to Risk
      Modeling," Consortium for Dat a Analytics in Risk (CDAR) Sympo-
      sium, University of California, Berkeley, 16 October 2015. http:// cd
      ar .berkeley.edu/events/2015cdarsymposium/

 188. Guest lecturer, Statistics 210A (Theoretical Statistics), University of
      California, Berkeley, 13- 15 October 2015. https: / /gi thub. com/pbst
      ark/Nonpar

 187. Risk-Limiting Audits and the Colorado Uniform Voting System Pilot ,
      Colorado Pilot Election Review Committee Meeting, Office of the Col-
      orado Secret ary of Stat e, Denver , CO, 9 October 2015. https : / /www.
      stat.berkeley.edu/-stark/Seminars/auditC015.pdf

 186. Wild and Feral Food in EBRPD, East Bay Regional Park District Vol-
      unteer Meeting, Oakland, CA, 15 September 2015. https: / /www. sta
      t.berkeley . edu/-stark/Seminars/forageEBRPD15.htm




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 185. Probability and Statistics for Physical Science and Engineering PhD
      Students (a 15-hour course), University of Tokyo, 23- 26 August 2015.
      Materials: http://www. gi thub. com/pbstark/PhysEng

 184. Statistics for Engineering PhD students (a 30-hour course), University
      of Padova, Padova, Italy, 29 June- 7 July 2015. Materials: http:/ /ww
      w.github.com/pbstark/Padova15

 183. Pay no attention to the model b ehind the curtain, Significant Digits:
      Responsible Use of Quantitative Information, European Commission
      Joint Research Centre, Brussels, Belgium, 9- 10 June 2015. https: / /w
      ww.stat.berkeley.edu/-stark/Seminars/rabbitsBrux15.htm

 182. Reaping without Sowing: Wild Food and Urban Foraging, Berkeley
      Food Institute Seed Grant Forum, Berkeley, CA, 6 May 2015. https: / /'
      www.stat.berkeley.edu/-stark/Seminars/bfi-15-5-6.htm Video:
      http://food.berkeley.edu/seed-grant-forum/

 181. Invited panelist , Data Science: Supporting new Modes of Research ,
      Annual Meeting of the Association of Research Libraries, Berkeley, CA,
      28- 30 April, 2015.

 180. Teaching evaluations: class act or class action?, National Center for
      the Study of Collective Bargaining in Higher Education and the Pro-
      fessions , Annual Conference, Hunter College, New York, NY, 19- 21
      April 2015. https: / /www . stat . berkeley. edu/- stark/Seminars/ se
      tNCSCB15__._htm

 179. Where the Wild Things Grow, Berkeley Path Wanderers Association,
       Berkeley, CA, 4 April 2015. http://berkeleypaths.org/ events/ ev
      [ent/where-the-wild-things-grow/

 178. Invited panelist , Brave New Audits: How We Can Implement Risk-
      Limiting Audits with Today's Machines, Off-the-Shelf Hardware, and
      Open Source Software, 2015 Election Verification Network Annual
      meeting, New Orleans, LA , 4- 6 March 2015. https: / /www . stat . be
      rkeley.edu/-stark/Seminars/evn15.htm Video: https://youtu.b
      e/DBcVicxJigs




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 177. Co-chair, Election Auditing, NIST / U.S. Election Administration
      Commission Future of Voting Systems Symposium II, Washington , DC,
      9- 10 February 2015.

 176. Teaching evaluations: truthful or truthy?, European Commission
      Joint Research Centre Third Lis bon Research Workshop on Economics,
      Statistics and Econometrics of Education, Lisbon, Portugal, 23- 24 J an-
      uary 2015. http://cemapre.iseg.ulisboa.pt/educonf/3e3/ https
      ://www.stat.berkeley.edu/-stark/Seminars/setLisbon15.htm

 175. Bad Numbers, Bad Policy, 5th Impact Assessment Course
      by the Joint Research Centre and the Secret ariat General of
      the European Commission, Brussels, Belgium, 20- 21 J anuary
      2015. https://ec.europa.eu/jrc/en/event/training-course/5th
      -impact -assessment-course https : //www.stat.berkeley.edu/-s
      tark/Seminars/fauxBrux15.htm

 174. Quantifauxcation, European Commission Joint Research Centre, Ispra,
      Italy, 19 J anuary 2015. https : / /www . stat. berkeley. edu/-stark/S
      eminars/fauxispra15.htm

 173. Preproducibility for Research , Teaching, Collaboration , and Pub-
      lishing, Replicability and Reproducibility of Discoveries in Animal
      Phenotyping, Tel Aviv University, Tel Aviv , Israel, 5- 7 January 2015.
      https://www.stat.berkeley.edu/-stark/Seminars/reproTAU15.h
      tm Video: http://video.tau.ac . il/events/index.php?option=co
      m_k2&view=item&id=5563 :preproducibility-for-research-teac~
      ing-collaboration-and-publishing&Itemid=552

 172. Urban Foraging- Real Street Food, Discover Cal: A Menu for Change,
      Los Angeles, CA, 18 November 2014. https: / /www . stat . berkeley.
      edu/-stark/Seminars/discoverCalLA14.h~

 171. Guest lecturer, 6.8897/ 17.8952: Elections and Vot ing Technology,
      MIT, 13 November 2014.

 170. Open Geospatial Dat a Down in the Weeds: Urban Foraging, Food
      Deserts, Citizen Science, Sust ainability, and Reproducibility, Assessing




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      the Socioeconomic Impacts and Value of 'Open ' Geospatial Informa-
      tion , The George Washington University, Washington DC, 28- 29 Oc-
      tober 2014. https: / /www. stat. berkeley. edu/-stark/Seminars/op
      enGeospatial14.htm

 169. Student Evaluations of Teaching, University of San Francisco, 23 Oc-
      tober 2014. https: / /www. stat. berkeley. edu/-stark/Seminars/se
      tUSF14.htm

 168. Guest lecturer , CS 76N: Elections and Technology, Stanford University,
      14 October 2014.

 167. Statistical Evidence and Election Integrity, XXIX International Forum
      on Statistics, UPAEP, Puebla, Mexico, 29 September- 3 October 2014.
      https://www.stat.berkeley.edu/-stark/Seminars/foro14.pdf

 166. Nonparametric Inference, Auditing, and Litigation, Short course at
      XXIX International Forum on Statistics, UPAEP, Puebla, Mexico, 29
      September- 3 October 2014. https: / / gi thub. com/pbstark/MX14

 165. Invited participant , Pew Charitable Trusts roundtable: Challenges Re-
      lated to the Voting Systems Marketplace, Chicago , IL, 8 September
      2014.

 164. Invited panelist , U.S. Election Assist ance Commission roundtable:
      Expanding the Body of Knowledge of Election Administration-
      Reflections and Future Direction , 3 September 2014. http://www. ea
      c.gov/eac_grants_expanding_the_body_of_knowledge_of_elect
      ion_administration_%E2%80%93_reflections_and_future_dire/
      Video: http://mediasite.yorkcast.com/webcast/Play/a90f223fa
      61940cd893b70fab55fe1b51d

 163. Reproducibility, Evidence, and the Scientific Method, Late-breaking
      session on Reproducibility, Joint Statistical Meetings, Boston , MA , 2-
      7 August 2014. https : / /www . stat. berkeley. edu/- stark/Seminars
      /reproJSM14.htm

 162. Invited panelist, Big Data & Academic Libraries , International Alliance
      of Research Universities, 3rd Librarians ' Meeting, University of Cali-
      fornia, Berkeley, CA, 23- 24 June 2014.




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 161. Mini-Minimax Uncertainty Quantification for Emulators, 2nd Confer-
      ence of the International Society for Non parametric Statistics, Cadiz,
      Spain, 11- 16 June 2014. https: / /www. stat. berkeley. edu/-stark/
      Seminars/emulatorISNPS14.pdf

 160. Reproducible and Collaborative Statistical Data Science, Transparency
      Practices for Empirical Social Science Research , 2014 Summer Insti-
      tute, University of California, Berkeley, CA, 2- 6 June 2014. https: / /'
      www.stat.berkeley.edu/-stark/Seminars/bitss14.pdf

 159. Risk-Limiting Audits for Denmark and Mongolia, Third DemTech
      Workshop on Danish Elections, Trust, and Technology for the Mon-
      golian General Election Commission, IT University of Copenhagen ,
      Copenhagen, Denmark , 24 May 2014. https: / /www. stat. berkeley
      .edu/-stark/Seminars/itu14.pdf

 158. How to Lie With Big Data (and/or Big Computations), Panel on Data
      Deluge or Drought (Quality and Quantity), MPE13+ Workshop on
      Global Change, DIMACS Special Program: Mathematics of Planet
      Earth 2013+, University of California, Berkeley, CA, 19- 21 May 2014.
      https://www.stat .berkeley.edu/-stark/Seminars/mpe14.pdf

 157. Invited panelist, Relying on Data Science: Reproducible Research and
      the Role of Policy, DataEDGE conference, UC Berkeley School of In-
      formation , Berkeley, CA, 8- 9 May 2014.

 156. Invited panelist , Some Tools and Solutions, University of Washing-
      ton / Moore- Sloan First Reproducibility Workshop , eScience Institute,
      University of Washington , Seattle, WA , 8 May 2014 https : / /www . st
      at .berkeley.edu/-stark/Seminars/reproUW14.pdf

 155. Some people have all the luck , Institute for Pure and Applied Mathe-
      matics, UCLA, Los Angeles, CA, 28 April 2014. (with Skip Garibaldi
      and Lawrence Mower) http ://www. ipam. ucla. edu/programs/PUBLE
      C2014/ Video: https ://www.youtube.com/watch?v=s8cHHWNblA4

 154. Invited panelist , Ask a Statistician , SIAM/ ASA / GAMM/ AGU Confer-
      ence on Uncertainty Quantification, Savannah, GA , 29 March - 3 April
      2014.




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 153. Invited panelist, The Reliability of Computational Research Findings:
      Reproducible Research , Uncertainty Quantification , and Verification
      & Validation , SIAM/ ASA/ GAMM/ AGU Conference on Uncertainty
      Quantificat ion , Savannah , GA , 29 March - 3 April 2014. https: / /www
      .stat.berkeley.edu/-stark/Seminars/reproUQ14.pdf Video: htt
      p://client.blueskybroadcast.com/SIAM14/UQ/siam_uq14_MS42_3

 152. Invited panelist, New P aradigms for Voting Systems, 2014 Election
      Verification Network Annual meet ing, San Diego, CA, 5- 7 March
      2014. https://www.stat.berkeley.edu/-stark/Seminars/evn14Ne
      wParadigms.pdf Video: https://www.youtube.c om/watch?v=bTlHY
      kiYBZI
 151. Invited panelist, End-to-End Verifiable Voting Roundtable, 2014 Elec-
      t ion Verification Network Annual meeting, San Diego , CA, 5- 7 March
      2014 . Video: https: / /www.youtube.com/watch?v=jsGSQV _rFzA

 150. Invited panelist, Improving Teaching through uncharted Wat ers: Peer
      Observation and other Approaches, Dialogues, a Colloquium Series on
      Teaching, Center for Teaching and Learning, University of California,
      Berkeley, 26 February 2014. http:/ /teaching . berkeley. edu/dialo
      gues-colloquium-series-teaching

 149. Invited panelist, Unpacking the Voting Technology Debate, 2014
      Voting and Elections Annual Summit, Overseas Vote Foundation and
      U.S. Vote Foundation, George Washington University, Washington ,
      D.C ., 30 January 2014. https : / /www. overseasvotefoundation. org
      /initiatives-UOCAVAsummit -summit2014-agenda Video: http ://w1
      ww .youtube . com/watch?v=UXqqn0WhsmA&list=PLtRB8fQOzBR8Nza-Gj
      -RGln-HTrkp4UM6F&feature=share&index=1#t =23m30s

 148. Risk-Limit ing Audits for Party-List Elect ions. IT University of Copen-
      hagen , Copenhagen , Denmark , 21 November 2013. https: //www. sta
      t.berkeley.edu/-stark/Seminars/itu13.pdf

 14 7. Selective Inference and Conditional Tests. Department of Statistics and
       Operations Research , Tel Aviv University, Tel Aviv , Israel, 28 October
       2013.




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 146. Ontology of Earthquake Probability: Met aphor. Dynamics of Seismic-
      ity, Earthquake Clustering and Patterns in Fault Networks, Statistical
      and Applied Mathematical Sciences Institute (SAMSI), Research Tri-
      angle Park, NC, 9- 11 October 201 3. https: //www. stat. berkeley. e
      du/-stark/Seminars/samsiSeis13.pdf

 145. Invited panelist, Innovations in On-line Learning, Designing a World
      University, World Academy Forum on Global Higher Educat ion, Berke-
      ley, California, 2- 3 October 20 13.
 144. E2E to Hand-to-Eye: Verifiability, Trust, Audits, Vote ID 2013: The
      4th Int ernational Conference on e-Voting and Ident ity, University of
      Surrey, Guildford, UK 17- 19 July 2013. https: / /www. stat. berkele
      y.edu/-stark/Seminars/voteID13.pdf

 143. Mini-Minimax Uncertainty of Emulators, Center for Security, Reli-
      ability, and Trust, University of Luxembourg, Luxembourg, 9 July
      2013. https ://www . stat.berkeley . edu/-starkstark/Seminars/em
      ulatorLux13.pdf
 142. Invited panelist , Extracting Actionable Insight From Dirty Time-Series
      Data, Berkeley Research Data Science Lectures, University of Califor-
      nia, Berkeley, 21 June 2013. Video: http:/ /vcresearch. berkeley. ed
      u/datascience/webcast-data-science-lecture-series-june-21

 141. Uncertainty quantification for emulators, Dipartimento di Fisica e As-
      tronomia , Universita di Bologna, Bologna, Italy, 5 June 2013. https: /
      /www.stat.berkeley.edu/-stark/Seminars/emulatorUniBo13.pdf

 140. Leveraging Pap er Ballots, Running Elections Efficiently, A Best Prac-
      t ices Convening , Common Cause - Common Cause/ NY - Columbia
      University School of International and Public Affairs, Columbia Uni-
      versity, New York , NY, 20 May 20 13. https: / /www. stat . berkeley.
      edu/ -stark/Seminars/ccNY13.pdf

 139. Uncertainty quantification for emulators, University of California, Los
      Angeles, 11 April 2013. https : / /www. stat. berkeley. edu/- stark/S
      eminars/emulatorUCLA13.pdfl

 138. Brittle and Resilient Verifiable Voting Systems, Verifiable Voting
      Schemes Workshop: from Theory to Practice, Interdisciplinary Centre




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      for Security, Reliability and Trust , University of Luxembourg, Luxem-
      bourg 21- 22 March 2013. https: / /www. stat. berkeley. edu/- stark
      /Seminars/vv13.pdf

 137. Now What?, Election Verification Network Annual Conference, The
      Right to a Secure, Transparent and Accurat e Election, Atlanta, Georgia
      14- 15 March 2013 . https: / /www. stat. berkeley . edu/- stark/Semin
      ars/evn13nowWhat.pdf

 136. Machine-Assist ed Transitive Audits, Election Verification Network An-
      nual Conference, The Right to a Secure, Transparent and Accurate
      Election , At lanta, Georgia 14- 15 March 2013.
 135. Risk-limiting Audits and Evidence-Based Elections in a Nutshell, Elec-
      tion Verification Network Annual Conference, The Right to a Secure,
      Transparent and Accurate Election, Atlanta, Georgia 14- 15 March
      2013. https : //www . stat.berkeley.edu/-stark/Seminars/evn13nu
      tshell.pdf

 134. Reproducibility in Computational and Experimental Mathematics,
      ICERM, Brown University, Providence, RI, 10- 14 December 2012.
      http://icerm.brown.edu/tw12-5-rcem

 133. Whaddya know? Bayesian and Frequentist approaches to inverse prob-
      lems, Inverse Problems: Practical Applications and Advanced Analysis,
      Schlumberger WesternGeco, Houston, TX, 12- 15 November 2012. htt
      ps://www.stat.berkeley.edu/-stark/Seminars/swg12.pdf

 132. Evidence-Based Elections, E-Voting: Risk and Opportunity Confer-
      ence, Center for Information Technology Policy, Princeton University,
      Princeton, NJ , 1 November 2012. https: //www. stat. berkeley. edu/
      -stark/Seminars/princeton12 .pdf Video: http://youtu .be/1Z6J
      W1t_sFI

 131. Evidence-Based Elections, Berkeley / Stanford Dat a, Society and In-
      ference Seminar , Stanford University, Stanford , CA 8 October
      2012 . https://www.stat.berkeley.edu/-stark/Seminars/dataSoc
      ietyinference12.pdf

 130. Voting Technology Exploratory Meeting, The Pew Charitable Trusts
      Center on the States, Santa Monica, CA 23- 24 August 2012.




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 129. Lightning Debates, Workshop on Electronic Voting Technology/ Work-
      shop on Transparent Elections, (EVT/ WOTE ' 12), USENIX , Bellevue,
      WA , 6- 7 August 2012. Video: https: / /www.usenix.org/ conferenc
      e/evtwote12/panel-2-title-tbd

 128. BRAVO: Ballot-polling Risk-limiting Audits to Verify Outcomes,
      Workshop on Electronic Voting Technology / Workshop on Transpar-
      ent Elections , (EVT/ WOTE '12), USENIX, Bellevue, WA , 6- 7 August
      2012. https://www.stat.berkeley.edu/-stark/Seminars/evt12.p
      df Video: https://www.usenix.org/conference/evtwote12/s6-pa
      per-title-tbd

 127. The Will of the People and the Luck of the Draw: Using Statistics t o
      Limit the Risk of Wrong Electoral Outcomes, Joint St atistical Meet-
      ings, San Diego, CA, 29 July 2012. https: / /www. stat. berkeley. ed
      u/-stark/Seminars/jsm12.pdf

 126. Evidence-Based Elections , Risk-Limiting Audits, and Resilient Canvass
      Frameworks, SecVot e 2012 Summer School on Secure Vot ing, Leibniz-
      Zentrum for Informatik, Schloss Dagstuhl , Germany, 16 July 201 2. ht
      tps://www.stat.berkeley.edu/-stark/Seminars/dagstuhl12.pdf

 125. The Effectiveness of Internet Content Filters, Distinguished Lecture (h
      ttp://wwwen.uni.lu/snt/distinguished_lectures), Center for Se-
      curity, Reliability, and Trust , University of Luxembourg, Luxembourg,
      13 July 201 2. https://www.stat .berkeley.edu/-stark/Seminars/
      luxembourg12 .pdf

 124. Evidence-Based Elections, International Association of Clerks,
       Recorders, Election Officials & Treasurers (IACREOT) annual con-
       ference, Albuquerque, NM, 30 June 2012. https : / /www . stat. berkel
      1ey . edu/-stark/Seminars/iacreot12.pdf

 123. Confidence Limits, Progress on Statistical Issues in Searches, SLAC
      National Accelerator Laboratory, Stanford , CA, 4- 6 June 2012 . https
      : //www.stat.berkeley . edu/-stark/Seminars/slac12 .pdf

 122. UQQ, UQ: Transit ion Workshop , Statistical and Applied Mathematical
      Sciences Institute (SAMSI), Research Triangle Park, NC, 21- 23 May




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      2012. https://www.stat.berkeley.edu/-stark/Seminars/samsi12
      .pdf

 121. Testing for Poisson Behavior , Seismological Society of America Annual
      Meeting, San Diego, CA, 17- 19 April 2012. https: //www. stat. berk
      eley.edu/-stark/Seminars/ssa12.pdf

 120. Get Out The Audit (COTA), Election Verification Network Annual
      Conference, Santa Fe, NM, 29- 30 March 2012. https: / /www. stat. be
      rkeley.edu/-stark/Seminars/evnGOTA12.pdf

 119. The Long View: Evidence-Based Elections , Election Verification Net-
      work Annual Conference, Santa Fe, NM, 29- 30 March 2012. https: /
      /www.stat.berkeley.edu/-stark/Seminars/evnLongView12.pdf

 118. The Will of the P eople and the Luck of the Draw: Risk-Limiting Au-
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 113. Risk-limiting Audits: Soup to Nuts, and Beyond, Workshop on
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      (EVT/ WOTE '11) , USENIX, San Francisco, CA, 9 August 2011. htt
      ps://www.stat.berkeley.edu/-stark/Seminars/evtRLA11.pdf

 112. SOBA: Secrecy-preserving Observable Ballot-level Audit , Workshop on
      Electronic Voting Technology / Workshop on Transparent Elections,
      (EVT/ WOTE '11) , USENIX, San Francisco, CA, 9 August 2011. htt
      ps://www.stat.berkeley.edu/-stark/Seminars/evtSoba11.pdf

 111. The Effectiveness of Internet Content Filtering, Workshop on Free and
      Open Communication on the Internet (FOCI '11), USENIX , San Fran-
      cisco, CA, 8 August 2011. https: / /www. stat. berkeley. edu/- stark
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      J oint Statistical Meetings, Miami Beach , FL , 31 August 2011. https:
      //www.stat.berkeley.edu/-stark/Seminars/jsm11.pdf

 109. Risk Limiting Audits, Colorado Secret ary of State, Colorado Risk Lim-
      iting Audit (CORLA) Kick-off Meeting, Denver, CO, 16 June 2011. ht
      tps://www.stat.berkeley.edu/-stark/Seminars/co-11-6-16.pdf

 108. Simultaneous Confidence Intervals with more Power to Determine
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       ton , TX, 12 May 2011. https: / /www. stat. berkeley. edu/-stark/S
      [eminars/lehmann11. pdf

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 105. Audits: The After-Math of Elections, Verify early, verify oft en : cre-
      ating secure, transparent and accurat e elections, Election Verification
      Network, Chicago, IL , 25- 26 March 2011. https: / /www. stat. berkel
      ey.edu/-stark/Seminars/reed11.pdf

 104. Simultaneous Confidence Intervals with more Power to Determine
      Signs, Department of Mathematics, Reed College, Portland, OR, 10
      March 2011. https : //www.stat.berkeley . edu/-stark/Seminars/r
      eed11.pdf

 103. Close enough for government work: Risk-Limiting Post-Election Au-
      dits, Wharton Statistics Department , University of Pennsylvania ,
      Philadelphia, PA, 26 January 2011. https: / /www . stat . berkeley.
      edu/-stark/Seminars/penn11.pdf

 102. Audits: The After-Math of Election Reform , Conference on Innovative
      Electoral Reforms and Strategies, Washington , DC, 10- 11 December
      2010. https : //www . stat.berkeley . edu/-stark/Seminars/innovat
      ive10.pdf

 101. Risk-Limiting Post-Election Audits: Statistics, Policy, and Polit ics, De-
      partment of Statistics, Rice University, Houston, TX, 1 November 2010.
      https://www.stat.berkeley.edu/-stark/Seminars/rice10.pdf

 100. Are Declustered Earthquake Catalogs Poisson?, Department of Statis-
      tics, Pennsylvania State University, State College, PA, 14 Octob er 2010.
      https:/ /www .stat.berkeley.edu/-stark/Seminars/psu10.pdf

  99. Super-simple simultaneous single-ballot risk-limiting audits, 2010 Elec-
      tronic Voting Technology Workshop / Workshop on Trustworthy Elec-
      t ions (EVT / WOTE '10), Washington , DC, 9- 10 August 2010. https:
      //www.stat .berkeley.edu/ - stark/ Seminars/evtwote10 .pdf

  98. AB 2023 and Risk-Limiting Audits , California Association of Clerks
      and Election Officials Legislative Committee Meeting, 14 May
      2010. https://www.stat.berkeley.edu/-stark/Seminars/caceo-l
      egis10.pdf

  97. Justice and inequalities, Department of Statistics and Operations Re-
      search , Tel Aviv University, Tel Aviv , Israel, 13 April 2010. https: //
      www.stat.berkeley.edu/-stark/Seminars/tau10.pdf




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  96. Size Matters: Smaller Batches Yield More Efficient Risk-Limiting
      Audits, Small-Batch Audit Meeting, Washington, DC, 27- 28 March
      2010. https://www.stat.berkeley.edu/-stark/Seminars/smallBa
      tch10.pdf

  95. Sexy Audits and the Single Ballot, Election Verification Network
      (EVN) annual conference, Washington, DC, 25- 27 March 2010. htt
      ps://www.stat.berkeley.edu/-stark/Seminars/evn10.pdf

  94. Simple, Affordable, Post-Election Audits , Institute for Mathematical
      Behavioral Sciences, University of California, Irvine, CA, 7 January
      2010. https://www.stat.berkeley.edu/-stark/Seminars/uci10.p
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  93. Efficient Post-Election Audits of Multiple Contests: 2009 California
      Tests, Conference on Empirical Legal Studies, University of Southern
      California Gould School of Law, Los Angeles, CA, 20- 21 November
      2009. https://www.stat.berkeley.edu/-stark/Seminars/cels09.
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  92. Risk-Limiting Audits, Audit Working Meeting, American Statistical
      Association, Arlington, VA, 23- 24 October 2009. https: //www. stat .
      berkeley.edu/-stark/Seminars/asa09.pdf]

  91. Invited panelist, Uncertainty Quantification and Error Analysis, Scien-
      tific Grand Challenges in National Security: the Role of Computing at
      the Extreme Scale, Washington, DC, 6- 8 October 2009.

  90. Some Ado about (mostly) Nothing: zero-dominated data, Alameda
      County Workshop on Avian Mortality at Altamont, Emeryville, CA,
      22 September 2009 . https: / /www. stat . berkeley. edu/- stark/Semi
      nars/altamont09.pdf

  89. Freedman 's Dialogue with the Social Sciences, 2009 Joint Statistical
      Meetings, Washington , DC, 5 August 2009.

  88. Invited panelist, David A. Freedman's Dialogue with the Social Sci-
      ences, The Society for Political Methodology 26th Annual Summer
      Meeting, Institution for Social and Policy Studies, Yale University, New
      Haven , CT, 23 July 2009.




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  87. Election Auditing: How Much is Enough?, The Society for Political
      Methodology 26th Annual Summer Meeting, Institution for Social and
      Policy Studies, Yale University, 23 July 2009. (Keynot e lecture) http
      s://www.stat.berkeley.edu/ - stark/Seminars/po1Meth09.pdf

  86. Risk-Limiting Post-Election Audits, Department of Statist ics, Univer-
      sity of California, Berkeley, CA, 31 March 2009. https: / /www. stat.
      berkeley.edu/-stark/Seminars/ucb09.pdf

  85. Uncert ainty Quantification Qualification, Lawrence Livermore National
      Laborat ory, Livermore, CA, 26 March 2009. https: / /www. stat. berk
      eley.edu/-stark/Seminars/llnl09.pdf

  84. 2008 Risk-limiting Audits in California, The Pew Charitable Trusts
      Audit Workshop, Salt Lake City, UT , 23- 24 February 2009. https: / /'
      www.stat.berkeley.edu/-stark/Seminars/pew09.pdf

  83. Election Auditing and Non parametric Confidence Bounds, Depart ment
      of Mathematics, Reed College, Port land , OR, 20 November 2008. htt
      ps://www.stat.berkeley.edu/-stark/Seminars/reed08.pdf

  82. Risk-Limiting Post-Election Audits , Department of St atistics, Kansas
      Stat e University, Manhattan, KS, 2 October 2008. https: / /www. sta
      t.berkeley.edu/-stark/Seminars/ksu08.pdf

  81. CAST: Canvass Audits by Sampling and Testing, 2008 American Polit-
      ical Science Association Annual Meet ing, Panel 2008MP04292: Catch
      Me If You Can: Techniques to Det ect Electoral Fraud , Bost on, MA,
      28- 31 August 2008. https: / /www. stat. berkeley. edu/- stark/Semi
      nars/apsa08.pdf

  80. Invit ed panelist , Joint Statist ical Meet ings session, Statist ical Measures
      Can Help Restore Confidence in U.S. Elections, Denver , CO , 3- 7 Au-
      gust 2008.

  79. Invited Panel on Post-Election Auditing: The Academic & Advo cacy
      Perspect ive, California Association of Clerks and Election Officials
      (CACEO) 100th Anniversary Celebration Conference, Long Beach,
      CA, 8- 11 July 2008.




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  78. Statistical Audits: Why and How Much?, Invited Panel on Post-
      Election Auditing: Practical Experience and Best Practices, California
      Association of Clerks and Election Officials (CACEO) 100th Anniver-
      sary Celebration Conference, Long Beach, CA, 8- 11 July 2008. https
      ://www.stat.berkeley.edu/-stark/Seminars/caceo08.pdf

  77. Invited Panel on Online Learning, UC21st Century, Teaching, Learning
      and Technology: Past , present and future, University of California,
      Davis, 20- 21 June 2008.

  76. SticiGui~ What is it?, Department of Statistics, University of Califor-
      nia , Los Angeles, CA, 29 May 2008. https: / /www. stat. berkeley. e
      du/-stark/Seminars/ucla08.pdf

  75. Election Auditing: How Much Is Enough?, Mathematical Sciences Re-
      search Institute, Annual Meeting of Academic Sponsors and Steering
      Committee, Berkeley, CA, 7 March 2008. https: / /www. stat. berkel
      ey.edu/-stark/Seminars / msri08.pdf

  74. Invited panelist , 200 7 Post Elect ion Audit Summit , Minneapolis, MN,
      25- 27 October 2007. https: / /www. stat. berkeley. edu/- stark/Sem
      inars / peaSummit07.pdf

  73. Urning Voter Confidence, Department of Mathematics, Reed College,
      Portland , OR, 11 October 2007. https: / /www. stat. berkeley. edu/-
      stark/Seminars/reed07. pdf

  72. Frequentist Methods in Inverse Problems, Sandia CSRI Workshop on
      Large-Scale Inverse Problems and Quantification of Uncertainty, Santa
      Fe, NM , 10- 12 September 2007. https: / /www. stat . berkeley . edu/-
      stark/ Seminars/ sandia07. odp

  71. How Statist ics Helps, 9th US Congress on Computational Mechanics,
      San Francisco, CA , 22- 26 July 2007. https : / /www. stat. berkeley . e
      du/-stark/Seminars/c ompMech07 .odp

  70. Nonparametrics: nonpareil?, Veterans Administration Hospital, Neu-
      ropsychology Brown Bag Lunch, Martinez, CA, 15 May 2007. https:
      //www.stat .berkeley.edu/-stark/Seminars/ebire-5-15-07 .pdf




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  69. The Null Hypothesis: Are Earthquakes Predictable?, Assessment
      schemes for earthquake prediction , Royal Astronomical Society/ Joint
      Association for Geophysics Discussion Meeting 7- 8 November 1996 , the
      Geological Society, London

  68. Shaking Down Earthquake Predictions, Department of Statistics, Uni-
      versity of California, Davis, 25 May 2006 https: / /www. stat. berkele
      y.edu/-stark/Seminars/ucd-5- 25-06 .pdf l

  67. Measuring Resolution in Nonlinear and Constrained Inverse Prob-
      lems, Workshop on Statistical Inverse Problems, Institute for
      Mathematical Stochastics, Gottingen , Germany, 23- 25 March
      2006. http://www.num.math.uni-goettingen.de/gk/?Workshops:W
      orkshop_on_Statistical_Inverse_Problem~

  66. Resolution in Nonlinear and Constrained Inverse Problems , Workshop
      on Computational and Mathematical Geoscience, Colorado School of
      Mines, Golden CO, 15- 17 June 2005.

  65. Quantifying uncertainty in inverse problems, Summer school: Mathe-
      matical Geophysics and Uncertainty in Earth Models, Colorado School
      of Mines, Golden CO, 14- 25 June 2004. https: //www. stat . berkele
      y . edu/-stark/Seminars/mines04.pdf

  64. Estimating power spectra of galaxy structure: can Statistics help?,
      Penetrating bars through masks of cosmic dust: the Hubble tuning
      fork strikes a new note, Pilanesberg National Park, South Africa , 7- 12
      June 2004. http :www . stat.berkeley . edu/-stark/Seminars/bars0
      4.ppt

  63. Quantifying uncertainty in inverse problems, Institute for Pure and
      Applied Mathematics (IPAM) Conference on Statistical Methods for
      Inverse Problems, IPAM, Los Angeles, CA, 5- 6 November 2003. http
      s://www.stat .berkeley.edu/-stark/Seminars/ipam03.ppt

  62. Using what we know: inference with physical constraints, PhyS-
      tat 2003: Statistical Problems in Particle Physics, Astrophysics and
      Cosmology, Stanford Linear Accelerator Center , Stanford, CA, 8- 10
      September 2003 . https ://www . stat.berkeley.edu/-stark/Semina
      rs/phyStat03.pdf




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      Inversion Group Seminars on Inverse P roblems : Insight and Algo-
      rithms. Niels Bohr Instit ute, Copenhagen University, Copenhagen ,
      Denmark, 27- 29 May 2002. https://www.stat.berkeley.edu/-st
      ark/Seminars/bohr02.ppt

  60. Statistical Measures of Uncertainty in Inverse Problems. Instit ute for
      Mathematics and its Applications Tutorial on Inverse Problems and
      the Quantification of Uncertainty, Annual Program Mathematics in
      the Geosciences, Minneapolis, MN , 19 March 2002. https: / /www. sta
      t.berkeley.edu/-stark/Seminars/ima02.ppt

  59. Data Errors, Model Errors, and Estimation Errors , Frontiers of
      Geophysical Inversion Workshop, Waterways Experiment Station ,
      U.S. Army Corps of Engineers Engineer Research and Development
      Center, Vicksburg , MS , 17- 19 February 2002. https: / /www. stat . be
      rkeley . edu/-stark/Seminars/wes02.ppt

  58. Strategic P lanning and Implementation I: The Challenge of Adapt-
      ing Organizations and Creating Partnerships to Target New Markets,
      University Teaching as E-business?, Center for Studies in Higher Edu-
      cation , Berkeley, CA, 26- 27 October 2001.

  57. Inverse Problems and Data Errors, New Developments in Astrophysical
      F luid Dynamics, Chateau de Mons, Caussens, France, 25- 29 June 2001.

  56. Data Reduction and Inverse Problems in Helioseismology, Workshop
      Statistics of inverse problems, Institut Henri Poincare, Paris, France,
      28- 29 May 2001.

  55. Why Statistics is worth t he Stigma, Letters and Sciences Faculty Fo-
      rum , University of California , Berkeley, CA, 23 April 2001. https: / /
      www.stat.berkeley.edu/-stark/Seminars/stigma01.ppt

  54. Inverse Problems in Helioseismology, Second MaPhySto Workshop on
      Inverse Problems: Inverse problems from a Statistical Perspective, Aal-
      borg, Denmark, 28- 31 March 2001.

  53. What are the Chances?, NATO Advanced Research Workshop: State of
      scientific knowledge regarding earthquake occurrence and implications




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      for public policy, Le Dune, Piscinas   ~   Arbus, Sardinia, Italy, 15~19
      October 2000.

  52. vVhy Unadjust ed Census Results should be Used for Reapportionment
      and Funding within the State of California, 13th Annual Demographic
      vVorkshop , U.S. Bureau of the Census, California State Census Data
      Center, and the Population Research Laboratory of the University of
      Southern California, Los Angeles, CA, 15 May 2000.

  51. Invited discussant , Workshop of the National Academy of Sciences
      Panel to Review the 2000 Census, Washington, D. C., 2~3 February
      2000.

  50. Invited discussant , Panel discussion on the role of sampling in the US
      Census, San Francisco Bay Area Chapter of the American Statistical
      Association, 20 December 1999.

  49. Lecturer , Mathematical Geophysics Summer School , Stanford Univer-
      sity, Stanford, CA , 2~20 August 1999.

  48. Less Asymptotic Tomography. 9th SOHO Workshop: Helioseismic Di-
      agnostics of Solar Convection and Activity, Stanford University, Stan-
      ford , CA, 12~15 July 1999.

  4 7. Invited panelist, Reinventing Undergraduate Education: Technology
       Enhanced Learning in the Sciences, Math, and Engineering , University
       of California, Berkeley, CA, 23 April 1999.

  46. Error in Numerical Models Fitted to Data. DSRC/DARPA Study on
      Numerical Simulation of Physical Systems: The State of the Art, and
      Opportunities for Further Advances, Kick-Off Meeting , Arlington, VA,
      19~20 January 1999. https://www.stat.berkeley.edu/-stark/Sem
      inars/dsrc99.htm

  45. Sampling to Adjust the U.S. Census. Miller Institute for Basic Research
      in Science, University of California, Berkeley, CA, 12 J anuary 1999. h
      ttps://www . stat.berkeley.edu/-stark/Seminars/mibrs99.htm

  44. A Statistician's Perspective on Census Adjustment , Berkeley Breakfast
      Club, Berkeley, CA , 5 December 1998. https: / /www. stat. berkeley
      .edu/-stark/Seminars/bbc98.htm




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  43. SticiGui: Melts in your Browser , not in your Brain, J oint Berkeley-
      St anford Statistics Colloquium, Department of Statistics, Stanford Uni-
      versity, Stanford, CA , 27 October 1998. https: / /www. stat. berkele
      y.edu/-stark/Seminars/bsc98.htm

  42. SticiGui: Statistics Tools for Internet and Classroom Instruction with a
      Graphical User Interface, 1998 Joint Statistical Meetings of the Amer-
      ican Statistical Association , International Biometric Society, and Insti-
      tute of Mathematical Statistics, Orlando , FL, 12 August 1998.

  41. Presidential Panel on Statistics in Public Policy, 1998 J oint Statistical
      Meetings of the American Statistical Association , International Bio-
      metric Society, and Institute of Mathematical Statistics, Orlando, FL,
      10 August 1998.

  40. Misfit Measures and St atistical Inconsistency in Linear Inverse Prob-
      lems.    AMS / IMS / SIAM Joint Summer Research Conferences in
      the Mathematical Sciences, Mathematical Methods in Inverse Prob-
      lems for Partial Differential Equations, Mt. Holyoke, MA, 4- 9 July
      1998 . https://www.stat.berkeley.edu/-stark/Seminars/ams-ims
      -siam-98.pdf

  39. Uncertainties for functions from incomplet e, er roneous data.
      NSF / DOE Workshop on Uncertainty in Modeling, National Science
      Foundation , Arlington , VA, 11- 12 June 1998 . https: //www. stat. ber
      keley.edu/-stark/Seminars/nsf-doe-98.htm

  38. Sampling to adjust the 1990 Census for Undercount. U.S. House of
      Representatives Subcommit tee on the Census, May 1998. https: / /ww
      w.stat.berkeley.edu/-stark/Census/house-5-5-98-pbs .pdf

  37. Sounding the Sun: Helioseismology. 1998 American Association for the
      Advancement of Science (AAAS) Annual Meeting and Science Innova-
      tion Exposition , Philadelphia, PA., February 1998. https: / /www. sta
      t.berkeley . edu/-stark/Seminars/Aaas/helio.htm

  36. Dat a Sampling Rat e Reduction for the OERSTED geomagnetic Sat el-
      lite, Department of Geological Sciences, Stanford University, Stanford,
      CA, 28 July 1997. https: / /www. stat . berkeley . edu/- stark/Prepr
      ints/Oersted/writeup.htm




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  35. Does God play dice with the Earth, and if so, are they loaded? Fourth
      SIAM Conference on Mathematical and Computational Methods in the
      Geosciences, Albuquerque, NM , 16 June 1997. https: / /www. stat. be
      rkeley.edu/ -stark/Seminars/doesgod.h~

  34. Solving Problems for a Large Statistics Lecture Course using a Website
      UC Berkeley Academic Senate Workshop on Classroom Technology,
      Berkeley, CA, 11 April 1997. https: / /www. stat. berkeley. edu/- st
      ark/Seminars/itpTalk.htm

  33. Deficiencies of the simple theories, Local Helioseismology Workshop,
      University of Cambridge, Cambridge, England, 1997.

  32. CMB 's , Royal Astronomical Society Ordinary Meeting, London, Eng-
      land , 1996.

  31. The Null Hypothesis, Royal Astronomical Society and Joint Associa-
      tions for Geophysics discussion meeting on Assessment of Schemes for
      Earthquake Prediction, London, England, 1996.

  30. On the consistency of multiple inference in inverse problems using lp
      confidence sets, International Conference on Multiple Comparisons, Tel
      Aviv , Israel, 1996.

  29. Confidence Intervals m Inverse Problems, Conference in Honor of
      George Backus, Institute for Geophysics and P lanetary Physics, La
      Jolla , CA, 1995.

  28. The Need for Wave-Equation Travel-Time Tomography, Institute for
      Mathematics and Its Applications, Conference on Tomography, Min-
      neapolis, MN, 1995.

  27. Inference, Prior Information, and Misfit Measures, Interdisciplinary In-
      version Conference on Methodology, Computation and Integrated Ap-
      plications, University of Aarhus, Aarhus, Denmark, 1995.

  26. Optimization and Inference in Travel-Time Seismology, National Re-
      search Council Board on Mathematical Sciences Symposium on Math-
      ematical Sciences in Seismology, Washington , DC, 1995.




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  25. Prior Information and Confidence Intervals in Inverse Problems, In-
      ternational Union of Geodesy and Geophysics Meeting, Boulder, CO,
      1995.

  24. Something AGAINST Nothing: A Confidence Game, Joint Statistical
      Meetings of the American Statistical Association, International Bio-
      metric Society, and Institute of Mathematical Statistics, Orlando, FL,
      1995.

  23. Uncertainties in Travel-Time Seismology, SIAM/GAMM Symposium
      on Inverse Problems: Geophysical Applications, Fish Camp, CA, 1995.

  22. Toward Tubular Tomography, 27th General Assembly of the Int. Assoc.
      of Seismology and Phys. of the Earth's Inter. (IASPEI), Wellington,
      New Zealand, 1994.

  21. Alternative Data Analysis Techniques, Global Oscillation Network
      Group annual meeting, Los Angeles, CA, (presented by C. Genovese
      due to illness), 1994.

  20. Mathematical Aspects of Integral Equation Inversion, Global Oscilla-
      tion Network Group workshop, Sydney, Australia, 1994.

  19. Conservative Finite-Sample Confidence Envelopes for Monotone and
      Unimodal Densities, Mathematisches Forschungsinstitut Oberwolfach
      meeting on Curves, Images and Massive Computation, Oberwolfach,
      Germany, 1993.

  18. Invited discussant, Joint IMS/ ASA/EN AR Meeting, Philadelphia, PA,
      1993.

  17. Uncertainty of the Quadrupole Component of the Cosmic Microwave
      Background, Israel Statistical Association Annual Meeting, Tel Aviv,
      1993.

  16. Brute-Force Minimaoc Estimation in Geochemistry, Joint Statistical
      Meetings of the American Statistical Association, International Bio-
      metric Society, and Institute of Mathematical Statistics, San Francisco,
      CA, 1993.




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  15. Conservative Numerical Uncertainty Estimates in Inverse Problems,
      SIAM 40th Anniversary Meeting, Los Angeles, CA, 1992.
  14. Minimaoc Estimation in Geomagnetism, European Geophysical Society
      Annual Meeting, Wiesbaden, Germany, 1991.
  13. Minimaoc Estimation in Geophysical Inverse Problems: Applications to
      Seismic Tomography and Geomagnetism, Schmitt Institute for Physics
      of the Earth, Academy of Sciences of the USSR, Moscow, 1991.

  12. Imagining Earth's Interior: Controversies in Seismology and Geomag-
      netism, Mathematical Sciences Research Institute Workshop on Statis-
      tical Methods in Imaging, Berkeley, CA, 1991.

  11. Discretization and its Discontents: New Methods in Inverse Theory, In-
      stitute for Theoretical Physics program Helioseismology-Probing the
      Interior of a Star, National Science Foundation Institute for Theoretical
      Physics, University of California, Santa Barbara, 1990.

  10. Inference in Infinite-Dimensional Inverse Problems, Schmitt Institute
      for Physics of the Earth, Academy of Sciences of the USSR, Moscow,
      1990.

   9. Inference in Infinite-Dimensions: Discretization and Duality, Israel Sta-
      tistical Association Annual Meeting, Jerusalem, 1990.

   8. Superresolution: What, When and How?, Institute for Theoretical
      Physics program Helioseismology-Probing the Interior of a Star, Na-
      tional Science Foundation Institute for Theoretical Physics, University
      of California, Santa Barbara, 1990.

   7. Sparsity-Constrained Deconvolution, International Union of Radio Sci-
      ence Meeting, Boulder, CO, 1989.

   6. Invited discussant, Statistics, Earth and Space Sciences Meeting of the
      Bernoulli Society, Leuven, Belgium, 1989.
   5. Rigorous Computer Solutions to Infinite-Dimensional Inverse Prob-
      lems, rep 264 problemes inverses, Montpellier, France, 1989.
   4. Duality and Discretization Error, Conference on Mathematical Geo-
      physics, Blanes, Spain, 1988.




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   3. Spectral extrapolation with positivity, International Union of Radio
      Science Meeting, Boulder, CO, 1987.

   2. Travel-Time Constraints on Core Structure, Special Session on Geo-
      physics of the Core and Core-Mantle Boundary, American Geophysical
      Union Spring Meeting, Baltimore, MD, 1986.

   1. Smooth Models from tau(p) and X(p) Data, Scripps Industrial Asso-
      ciates Short Course on Inverse Theory, Scripps Institution of Oceanog-
      raphy, La Jolla, CA, 1986.


 Other Invited Seminars
      California State University, Chico (Mathematics 1993)
      Colorado School of Mines (Mathematical and Computer Sciences 1997)

      Copenhagen University (Niels Bohr Institute for Astronomy, Physics,
      and Geophysics 1996)

      Hebrew University of Jerusalem (Statistics 1993)

      IT University of Copenhagen (2013, 2014, 2016)

      Kansas State University (Statistics 2008)

      Pennsylvania State University ( Statistics 1010)

      National Solar Observatory (1997)

      Naval Postgraduate School ( Operations Research, 2001)

      Reed College (Mathematics, 2007, 2008, 2011)
      Rice University (Statistics, 2010)

      Schlumberger-Doll Research (1988, 1990, 1991, 1992)

      Southern Methodist University (Statistical Sciences, 1998)

      Stanford University ( Center for Space Physics and Astrophysics 1992;
      Mathematics 1997; Geology and Geophysics 1993, 1997; Statistics 1988,
      1993, 1995, 2011)




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      The Technion (Statistics 1987)

      Tel Aviv University (Geology and Geophysics 1988, 1991; Statistics
      1991, 2010)

      University of Bologna (Physics and Astronomy, 2013)

      University of British Columbia ( Geophysics and Astronomy 1996)

      University of California, Berkeley (Astronomy 1996; Center for Pure
      and Applied Mathematics 1988; Geology and Geophysics 1988; Ma-
      terials Science and Mineral Engineering 1988; Physics, 2001; Seismo-
      graphic Stations, 1991, 1992, 1996; Statistics 1987, 1988(2),1989(2),
      1990, 1991, 1992, 1994, 1996(2), 1997, 2006, 2009, 2011)

      University of California, Davis (Statistics 1995, 2006; Mathematics
      2000)

      University of California, Los Angeles (Mathematics 1992; Statistics
      2000, 2008, 2013)

      University of California, Riverside (Earth Sciences 1996; Statistics
      1996)

      University of California, San Diego (Institute for Geophysics and Plan-
      etary Physics 1985, 1986, 1987, 1988(2), 1990, 1998, 2005; Mathematics
      1994)

      University of Cambridge (Institute for Astronomy 1992, 1997)

      University of Chicago (Statistics 1990)

      University of Edinburgh (Earth Sciences, 1998)

      University of Luxembourg (Interdisciplinary Centre for Security, Reli-
      ability and Trust 2012)

      University of Paris, Institute de Physique du Globe de Paris (2011)

      University of Pennsylvania (Wharton Statistics Department, 2011)

      University of Texas at Austin (Geological Sciences 1988; Mathematics
      1990, 1991; Institute for Geophysics 1990)




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      Veter ans Affairs Northern California Health Care System, Martinez,
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     Yale University (Geology a nd Geophysics 1988; Statistics 1988)



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